    Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.66 Page 1 of 10



                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


JOHN PORZONDEK
                                                  Case No.: 1:16-cv-777
              Plaintiff,                          Hon. Janet T. Neff

v

CITY OF SAUGATUCK, a Michigan
municipal corporation; SAUGATUCK
HISTORIC DISTRICT COMMISSION; KIRK
HARRIER, City of Saugatuck City Manager,
sued in his official and individual capacities;
VIC BELLA, Chair of the Saugatuck Historic
District Commission.

               Defendant.
_______________________________________/
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_________________________________/

                                 JOINT STATUS REPORT
 Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.67 Page 2 of 10



       NOW COMES John Porzondek, Plaintiff, by and through his attorneys, Sheridan

Haddock, PLLC, and the City of Saugatuck, Saugatuck Historic District Commission, Kirk

Harrier, and Vic Bella, Defendants, by and through their attorneys, Plunkett Cooney, and hereby

submits their Joint Status Report in accordance with the Federal Rules of Civil Procedure and the

Court’s Order Setting Rule 16 Scheduling Conference.

       A Rule 16 Scheduling Conference is scheduled for September 22, 2016, at 11:00 a.m.

Appearing for the parties as counsel will be Michael P. Haddock of Sheridan Haddock, PLLC,

for the Plaintiff, and David Otis and Michael S. Bogren, for the Defendants.

       1. Jurisdiction:

       The basis for the Court’s jurisdiction is subject matter jurisdiction under 28 U.S.C. §

1331 because this is a civil action arising under the Constitution and laws of the United States.

       2. Jury or Non Jury:

       This case is to be tried before a jury.

       3. Judicial Availability:

       The parties do not agree to have a United States Magistrate Judge conduct any and all

further proceedings in the case, including trial, and to order the entry of final judgment.

       4. Statement of the Case:

                               Plaintiff’s Statement of the Case:

       John Porzondek is the current owner of real property located at 790 Lake Street,

Saugatuck, MI 49453. Mr. Porzondek has repeatedly been denied by the City of Saugatuck,

under the guise of the Saugatuck Historic District Commission, the right to protect his home

from continual damage caused by the elements, significantly reducing the value of his property.
 Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.68 Page 3 of 10



As a landowner, Mr. Porzondek has a right to occupy and use his land free from governmental

regulation that destroys all or substantially all of its value.

        The City of Saugatuck and the Saugatuck Historic District Commission have also denied

Mr. Porzondek’s efforts to protect his home by application of arbitrary, unreasonable, and

capricious regulations and ordinances. As a landowner, Mr. Porzondek has a right to reasonable

use of his land from such regulation.

        The City of Saugatuck’s Historic District regulations do not bear substantial relation to

the public health, safety, morals, or general welfare. Instead, these regulations are used to

enforce subjective opinions of how residents can use their property and have been applied

improperly to Mr. Porzondek’s property, as well as applied inconsistently throughout the

Saugatuck Historic District.

        The City of Saugatuck and the Saugatuck Historic District Commission have also

improperly applied ordinances governing awnings on commercial businesses to Mr. Porzondek’s

residential property as a way to deny him the ability to protect and use his property.

        The Saugatuck Historic District regulations also improperly prohibit Mr. Porzondek from

exercising his right to freedom of expression by requiring approval from the Saugatuck Historic

District Commission to display artwork at his home and the regulations are unconstitutionally

overbroad, vague, and discriminatory on their face and as applied.

        Defendants violated and continue to violate Mr. Porzondek’s First Amendment rights by

applying the Saugatuck Historic District regulations to his property.

        Mr. Porzondek is asking the Court to declare that the City of Saugatuck and the

Saugatuck Historic District Commission have violated his 1st Amendment rights and 14th

Amendment due process rights and equal protection rights and has engaged in a regulatory
 Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.69 Page 4 of 10



taking of his property. He also asks the Court to enter an order enjoining Defendants from

applying the Historic District regulations to his property, and to award damages and other relief.

                           DEFENDANTS’ STATEMENT OF CASE


               Plaintiff owns property at 790 Lake Street, Saugatuck, in the Lake

Street/Culver Street area of the Saugatuck Historic District. Prior to the events relevant to

the “canopy” in this case, Plaintiff filed Applications for Certificates of Appropriateness for

certain renovations to the subject property which were approved by the Saugatuck Historic

District Commission. Those included 1) Approval of changing exterior color and replacing

doors (2002); 2) Approval of side railing and stairway (2003); 3) Approval of two signs and

a ground level porch (2004); 4) Approval of revised deck and patio (2005); and 5)

Approval of shingles (2006). The Commission has issued certificates where the application

meets the requirement of the ordinance and regulations of the Commission.

               With regard to this case and the canopy, there is a long procedural history as

follows. In June 2009, Plaintiff submitted an application for a Certificate of

Appropriateness for a second floor canopy supported by an aluminum frame. Plaintiff had

constructed the canopy without seeking a certificate. The application was considered at

the June 25 and June 23, 2009 meetings of the Commission. It was denied at the July 23,

2009 meeting for failing to comply with the ordinance and regulations of the Commission.

The denial was appealed to the State Historic Preservation Review Board. In a final

Decision and Order issued on July 6, 2010, after a formal hearing, the HPRB denied the

appeal and affirmed the Commission’s decision of July 23, 2009. (Agency Case No. 09-037-

HP; SOHR Docket No. 2009-1523).
 Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.70 Page 5 of 10



              Plaintiff then appealed the HPRB’s decision to the Allegan County Circuit

Court. In Case No. 10-47295-AA, Judge Kevin W. Cronin, issued an Order on March 9, 2011,

affirming the July 6, 2010 Final Decision and Order of the HPRB. Plaintiff failed to remove

the canopy and an action was commenced in the Allegan County District Court, Case No. 11-

1413-ON, for enforcement of a citation for a civil infraction for failing to remove the canopy

on or before April 19, 2011. Judge Joseph S. Skocelas issued an Order on June 1, 2011, to

remove the canopy on or before June 4, 2011. The canopy was removed, but was

reinstalled at a later date with a modified design.

              On December 23, 2014, the City filed a Motion and Order to Show Cause

informing the Court that a canopy had been reinstalled without a certificate of

appropriateness on or about December 16, 2014. Judge Skocelas issued an Order on

January 5, 2015 for the Plaintiff to show cause on January 28, 2015, why he was not in

contempt of the Court’s Order of June 1, 2011, to remove the canopy. As a result of the

January 28, 2015 hearing, the Court issued an Order on February 13, 2015 finding Plaintiff

in contempt of the Court’s Order of June 1, 2011, denying Plaintiff’s contention that the

redesign of the canopy rendered the canopy not subject to the June 1, 2011 Order and

ordering the removal of the redesigned canopy. The Court further ordered Plaintiff not to

erect any “awning/canopy or any variation thereof” without first obtaining approval from

the Historic District Commission or the HPRB. The Court further awarded the City costs

and attorneys’ fees and retained jurisdiction of the case.

              During the pendency of the above proceedings, Plaintiff submitted an

application on February 2, 2015, as amended March 16, 2015, for construction of a

“freestanding” awning/canopy as described in the Application. The Application was denied
 Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.71 Page 6 of 10



on March 30, 2015. Plaintiff again appealed this decision to the HPRB and the appeal was

docketed at Agency Case No. 015-002-HP; SOAHR Docket No. 15-039899. In a Proposal for

Decision, the ALJ documented that evidence was received regarding the procedural history

described above in relation to the HPRB and State Circuit and District Court Orders. The

ALJ determined based on procedural history that the appeal was barred by res judicata,

recommended dismissal of the appeal and affirmance of the City’s March 30, 2015 decision.

On February 2, 2016, the HPRB adopted the proposal for decision and entered its order

dismissing the appeal.

               The City asserts that the Complaint filed in this Court fails to provide the

Court with a complete history regarding the Commission’s actions with regard to the

canopy and HPRB decisions and judicial opinions regarding the “canopy”. The

Commission’s decision has been affirmed and the City denies violating any of Plaintiff’s

rights under the United States Constitution.

       The City further asserts that Plaintiff’s claims in Count 3 and 4 are barred by res

judicata/collateral estoppel; that Plaintiff’s claim in Count 2 of a Fifth Amendment Taking is not

ripe for review; and that Plaintiff’s claims in Count 1 and 5 fail to state a claim as the “awning”

does not implicate any speech or expressive rights under the First Amendment.

       5. Prospects of Settlement:

       The status of settlement negotiations is that the parties have not engaged in settlement

discussions.

       6. Pendent State Claims:

       This case does not include pendent state claims.
 Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.72 Page 7 of 10



       7. Joinder of Parties and Amendment of Pleadings:

       The parties expect to file all motions for joinder of parties to this action and to file all

motions to amend the pleadings by October 22, 2016. The parties reserve the right to amend later

should newly discovered evidence dictate.

       8. Disclosures and Exchanges:

       (i)     Fed. R. Civ. P. 26(a)(1) disclosures shall be made by the parties by December 22,

               2016.

       (ii)    Plaintiff expects to be able to furnish the names of Plaintiff’s expert witnesses by

               November 22, 2016. Defendant expects to be able to furnish the names of

               Defendant’s expert witnesses by December 22, 2016.

       (iii)   It would be advisable in this case to exchange written expert witness reports as

               contemplated by Fed. R. Civ. P. 26(a)(2). Reports, if required, should be

               exchanged by the close of discovery. However, the parties agree to an extension

               of discovery for new evidence disclosed as exhibits in the experts’ reports.

       (iv)    The parties are unable to agree on voluntary production at this time.

       9. Discovery:

       The parties believe that all discovery proceedings can be completed by April 15, 2017.

       The parties recommend the following discovery plan:

       (i)     The subjects on which discovery may be needed include ultra vires action, res

               judicata, design approval, scope of regulation, and all other issues that may arise

               in the course of discovery.

       (ii)    Discovery need not be conducted in phases.

       (iii)   No limitations on discovery are recommended by the parties at this time.
 Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.73 Page 8 of 10



        (iv)     No modifications are necessary in this case regarding the time limits for

                 depositions (one day for seven hours).

        10. Disclosure or Discovery of Electronically Stored Information:

        The parties have discussed the production of electronically stored information and

suggest that such information be handled as follows: Parties to provide a request to produce for

email communication regarding the subject property, City, Historical District Commission, and

Assessor regarding the re-classification of property from residential to commercial and related

matters.

        11. Assertion of Claims of Privilege or Work-Product Immunity After Production:

               None known.

        12. Motions:

        The parties acknowledge that a pre-motion conference is required before filing any

dispositive motion, and no motion papers shall be filed until the motion has been fully briefed.

See Judge Neff’s Information and Guidelines for Civil Practice, located on this Court’s website,

www.miwd.uscourts.gov.

        The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the moving party to

ascertain whether the motion will be opposed, and in the case of all non-dispositive motions,

counsel or pro se parties involved in the dispute shall confer in a good-faith effort to resolve the

dispute. In addition, all non-dispositive motions shall be accompanied by a separately filed

certificate.

        The following dispositive motions are contemplated by each party: Absense of

Regulation pertaining to residential awnings, res judicata, collateral estoppel.
 Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.74 Page 9 of 10



        The parties anticipate that all pre-motion conference requests will be filed by: January 15,

2017.

        13. Alternative Dispute Resolution:

        In the interest of conserving judicial resources, the parties acknowledge that this Court

will require the parties to participate in some form of Alternative Dispute Resolution. See Judge

Neff’s Information and Guidelines for Civil Practice, located on this Court’s website,

www.miwd.uscourts.gov.

        Discovery needed prior to conducting any Alternative Dispute Resolution is: production

of documents, depositions. A preferred time frame for conducting alternative dispute resolution

is at close of discovery.

        The parties recommend that this case be submitted to the following method(s) of

alternative dispute resolution: facilitative mediation.

        14. Length of Trial:

        Counsel estimates the trial will last approximately 3 days total, allocated as follows: 2

        days for Plaintiff’s case, 1 days for Defendant’s case, _____ days for other parties.

        15. Electronic Document Filing System:

        Counsel are reminded that Local Civil Rule 5.7(a) now requires that attorneys file and

serve all documents electronically, by means of the Court’s CM/ECF system, unless the attorney

has been specifically exempted by the Court for cause or a particular document is not eligible for

electronic filing under the rule. The Court expects all counsel to abide by the requirements of this

rule.
Case 1:16-cv-00777-JTN-ESC ECF No. 11 filed 09/15/16 PageID.75 Page 10 of 10



                                        Respectfully submitted,



     Dated: 09/15/16                    /s/Michael P. Haddock___________
                                        Michael P. Haddock (P55880)
                                        Sheridan Haddock, PLLC
                                        Attorneys for Plaintiff


     Dated: 09/15/16                    /s/David Otis___________________
                                        David Otis (P31627)
                                        Plunkett Cooney
                                        Attorneys for Defendants
